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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                       )
In re:                                                                 )
                                                                       )   Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P., 1                                   )
                                                                       )   Case No. 19-34054 (SGJ)
                      Reorganized Debtor.                              )
                                                                       )
                                                                       )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                      )
                                                                       )
                              Plaintiff,                               )
vs.                                                                    )   Adv. Pro. No. 21-03004 (SGJ)
                                                                       )
HIGHLAND CAPITAL MANAGEMENT FUND                                       )
ADVISORS, L.P.,                                                        )
                                                                       )
                             Defendant.                                )
                                                                       )

                                      CERTIFICATE OF SERVICE

       I, Esmeralda Aguayo, depose and say that I am employed by Kurtzman Carson
Consultants LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the
above-captioned case.

        On September 7, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

      •   Order Approving Stipulation and Agreed Order Governing Discovery and Other
          Pre-Trial Issues [Docket No. 68]


Dated: September 9, 2021
                                                          /s/ Esmeralda Aguayo
                                                          Esmeralda Aguayo
                                                          KCC
                                                          222 N Pacific Coast Highway, Suite 300
                                                          El Segundo, CA 90245

1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                             EXHIBIT A
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                                                               Exhibit A
                                                         Adversary Service List
                                                        Served via Electronic Mail


           Description                  CreditorName               CreditorNoticeName                            Email
Financial Advisor to Official                                 Earnestiena Cheng, Daniel H       Earnestiena.Cheng@fticonsulting.com;
Committee of Unsecured Creditors FTI Consulting               O'Brien                           Daniel.H.O'Brien@fticonsulting.com
                                                              Melissa S. Hayward, Zachery       MHayward@HaywardFirm.com;
Counsel for the Debtor              Hayward & Associates PLLC Z. Annable                        ZAnnable@HaywardFirm.com
Counsel for UBS Securities LLC                                Andrew Clubok, Sarah              andrew.clubok@lw.com;
and UBS AG London Branch            Latham & Watkins LLP      Tomkowiak                         sarah.tomkowiak@lw.com
Counsel for UBS Securities LLC                                Asif Attarwala, Kathryn K.        asif.attarwala@lw.com;
and UBS AG London Branch            Latham & Watkins LLP      George                            Kathryn.George@lw.com
Counsel for UBS Securities LLC                                Jeffrey E. Bjork, Kimberly A.     jeff.bjork@lw.com;
and UBS AG London Branch            Latham & Watkins LLP      Posin                             kim.posin@lw.com
Counsel for UBS Securities LLC                                                                  Zachary.Proulx@lw.com;
and UBS AG London Branch            Latham & Watkins LLP          Zachary F. Proulx, Jamie Wine Jamie.Wine@lw.com
Counsel for Highland Capital
Management Fund Advisors, L.P.,
NexPoint Advisors, L.P., Highland
Income Fund, NexPoint Strategic
Opportunities Fund and NexPoint     Munsch Hardt Kopf & Harr,     Davor Rukavina, Esq., Julian drukavina@munsch.com;
Capital Inc.                        P.C.                          P. Vasek, Esq.               jvasek@munsch.com
                                                                                               mclemente@sidley.com;
                                                                  Matthew Clemente, Alyssa     alyssa.russell@sidley.com;
Counsel for Official Committee of                                 Russell, Elliot A. Bromagen, ebromagen@sidley.com;
Unsecured Creditors                 Sidley Austin LLP             Dennis M. Twomey             dtwomey@sidley.com
                                                                                               preid@sidley.com;
                                                                  Penny P. Reid, Paige Holden pmontgomery@sidley.com;
Counsel for Official Committee of                                 Montgomery, Juliana Hoffman, jhoffman@sidley.com;
Unsecured Creditors                 Sidley Austin LLP             Chandler M. Rognes           crognes@sidley.com




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                             EXHIBIT B
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                                                                              Exhibit B
                                                                        Adversary Service List
                                                                      Served via First Class Mail

             Description                     CreditorName               CreditorNoticeName                   Address1              Address2        City   State    Zip
Counsel for UBS Securities LLC                                       Andrew Clubok, Sarah           555 Eleventh Street, NW,
and UBS AG London Branch            Latham & Watkins LLP             Tomkowiak                      Suite 1000                                 Washington DC      20004
Counsel for UBS Securities LLC                                       Asif Attarwala, Kathryn K.     330 North Wabash Avenue,
and UBS AG London Branch            Latham & Watkins LLP             George                         Ste. 2800                                  Chicago    IL      60611
Counsel for UBS Securities LLC                                       Jeffrey E. Bjork, Kimberly
and UBS AG London Branch            Latham & Watkins LLP             A. Posin                       355 S. Grand Ave., Ste. 100                Los Angeles CA     90071
Counsel for UBS Securities LLC                                       Zachary F. Proulx, Jamie       1271 Avenue of the
and UBS AG London Branch            Latham & Watkins LLP             Wine                           Americas                                   New York   NY      10020
Counsel for Highland Capital
Management Fund Advisors, L.P.,
NexPoint Advisors, L.P., Highland
Income Fund, NexPoint Strategic
Opportunities Fund and NexPoint                                      Davor Rukavina, Esq.,                                        500 N. Akard
Capital Inc.                        Munsch Hardt Kopf & Harr, P.C.   Julian P. Vasek, Esq.          3800 Ross Tower               Street       Dallas     TX      75202




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